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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. CV 19-10414-CBM-(JPRx) Date October 6, 2021

Title § Agerkop etal. v. Sisyphian, LLC dba Xposed Gentleman’s Club et al.

 

Present: The Honorable ©CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE

YOLANDA SKIPPER NOT REPORTED
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
NONE PRESENT NONE PRESENT
Proceedings: IN CHAMBERS- ORDER RE: ORDER TO SHOW CAUSE RE CIVIL
CONTEMPT

The hearing on the Order to Show Cause re Civil Contempt (“OSC”) is set for October 12, 2021
at 3:00 p.m.

The parties shall advise the Court in writing no later than October 8, 2021 whether the OSC
and hearing on the OSC should be vacated in light of the parties’ Stipulation and Order thereon (Dkt.
Nos. 133, 136), and the declaration of defense counsel Mr. Cohon filed in response to the OSC attesting
that Defendants have produced a list of dancers and their contact information to Plaintiffs’ counsel (Dkt.

No. 134).

IT IS SO ORDERED.

 

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CV-90 (12/02) CIVIL MINUTES - GENERAL Initials of Deputy Clerk YS
